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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO


  Civil Action No.: 1:20-cv-1235


  DANIEL COCHRAN, on behalf of himself individually and all other similarly situated,
         Plaintiffs,
  v.
  HEWLETT-PACKARD COMPANY; HP ENTERPRISE SERVICES, LLC; HP, Inc.; DXC
  TECHNOLOGY SERVICES, LLC; and PERSPECTA ENTERPRISE SOLUTIONS, LLC,


         Defendants.




                              COMPLAINT AND JURY DEMAND



  Plaintiff Daniel Cochran (“Mr. Cochran” or “Plaintiff”), by and though counsel, Hogue &

  Belong and in support of his causes of action against Defendants, states and alleges as follows:

                                  PRELIMINARY STATEMENT

         1.      Plaintiff Cochran files this Complaint against Defendants Hewlett-Packard

  Company, HP Enterprise Services, LLC, HP, Inc., DXC Technology Services, LLC, and

  Perspecta Enterprise Solutions, LLC (collectively “HP” or “Defendants”) individually and on

  behalf of all those similarly situated employees as a result of Defendants’ discrimination against

  them on the basis of age. Defendants adversely altered the terms and conditions of Plaintiffs’
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  employment, denied Plaintiffs the opportunities that other employees outside their protected

  class received, and terminated their employment, in violation of state and federal law.

         2.      Plaintiffs bring claims against Defendants pursuant to the Age Discrimination in

  Employment Act of 1967, 29 U.S.C. §§ 621-634 (“ADEA”) and Colorado Fair Employment

  Practices Act (C.R.S. 24-34-402) for age discrimination.

                                              PARTIES

        3.       Plaintiff Cochran is and, at all times relevant to the Complaint, was a resident of

  Colorado. At all relevant times, Cochran was a member of the protected class of individuals

  recognized under the ADEA. Plaintiff Cochran was 62 years old at the time he was terminated

  by HP.

        4.       At all material times, HP conducted business within the United States. One of

  HP’s headquarters and principal place of business is located in Fort Collins, Colorado. Fort

  Collins is a location where HP directs, controls, and coordinates its business operations.

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         5.     HP has gone through significant corporate restructuring. Below is an

  organizational chart of that restructuring:


                                           Hewlett-Packard

                                                Company




                                                                  Hewlett-Packard
                       HP, Inc.
                                                                    Enterprise Co.




                                                                    HP Enterprise

                                                                     Services, LLC




                                                                       DXC Tech.



         6.     All the aforementioned entities share a unity of interest and all are co-
  conspirators for the acts described below.



                                  JURISDICTION AND VENUE

         7.     Jurisdiction of this Court is invoked for pursuant to 28 U.S.C. §§ 1331,

  1343(3), and (4), 2201 and 2202, 42 U.S.C. 2000d-2 and 2000e5(f), and 29 U.S.C. § 621, et

  seq.

         8.     This is a suit authorized and instituted pursuant to the Age Discrimination in
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  Employment Act of 1967, 29 U.S.C. § 621, et seq.

       9.       Venue is proper the District of Colorado pursuant to 28 U.S.C. § 1391(b)

  because a substantial part of the employment practices and other conduct alleged to be

  unlawful occurred in this District.



                            ADMINISTRATIVE PREREQUISITES

       10.      On April 10, 2020, Mr. Cochran filed a dual charge against HP with both the

  U.S. Equal Employment Opportunity Commission (“EEOC”) and the Colorado Department

  of Regulatory Agencies, Civil Rights Division (“CDCR”) concerning HP’s policy that

  targeted himself and other employees aged 40 years and older through a pattern and practice

  of unlawful terminations. The EEOC issued Mr. Cochran a letter confirming his right-to-sue

  under federal and state laws on April 22, 2020.



                                   FACTUAL ALLEGATIONS

  Daniel Cochran Was a Talented and Experienced Employee That Had Loyally Served
  HP for over 26 years, Until Being Discriminated Against Because of His Age.
       11.      Mr. Cochran was born on May 21, 1957, and is currently 62 years old.

       12.      Mr. Cochran was first hired by HP as an independent contractor in November

  1992. On or about January 16, 1996, HP hired Mr. Cochran to a full-time employee position.

       13.      In or around August 2001, HP terminated Mr. Cochran’s employment as part

  of a companywide layoff. However, less than a year later, in or around June 2002, HP

  rehired Mr. Cochran as an independent contractor. Between June 2002 and October 2011,

  Mr. Cochran consistently performed work for HP as an independent contractor.

       14.      In or around October 2011, HP rehired Mr. Cochran as a full-time employee to

  the position of Technology Consultant IV. In this position, Mr. Cochran was hired at an

  Expert Job Level to perform onsite work for HP’s clients related to software customization
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  and implementation.

         15.    On or about December 16, 2015, HP promoted Mr. Cochran to Technical

  Marketing Engineer in its Software Defined & Cloud Group. As part of his promotion, HP

  promised Mr. Cochran that he would be promoted to a Master Job Level.

         16.    Shortly after Mr. Cochran was promoted, Hewlett-Packard Company split into

  HP Enterprise Services, LLC, and HP, Inc. As a result of the reorganization, on or about

  November 1, 2017, HP assigned Mr. Cochran to a new manager, Vinay Jonnakuti.

         17.    At the time, Mr. Cocharan was 60 years old and was the oldest employee in his

  team. On Mr. Cochran’s information and belief, at the time, Mr. Jonnakuti was

  approximately 40 years old.

         18.    Shortly after Mr. Jonnakuti became Mr. Cochran’s direct supervisor, Mr.

  Jonnakuti began to discriminate against Mr. Cochran because of his age. Upon becoming

  Mr. Cochran’s supervisor, Mr. Jonnakuti indicated to Mr. Cochran that he would not be

  supporting Mr. Cochran’s promotion to a Master Job Level. Ultimately, without Mr.

  Jonnakuti’s support, Mr. Cochran’s promotion to a Master Job Level never came to fruition.

         19.    On one occasion, Mr. Jonnakuti removed Mr. Cochran from a project he had

  been working on after he had secured the laboratory for the project, and then Jonnakuti assign

  the project to a much younger employee. Mr. Cochran reasonably believes that Mr.
  Jonnakuti removed Mr. Cochran from this project to discriminate against him because of his

  age.

         20.    Moreover, HP repeatedly discriminated against Mr. Cochran by denying him

  career advancement opportunities that were granted to younger employees. For instance, on

  two occasions, Mr. Cochran attempted to participate in HP’s TechFluence, career

  advancement program. Both times, Mr. Cochran was denied the opportunity to participate in

  this program. Mr. Cochran reasonably believes that Defendants denied him an opportunity to
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  participate in TechFluence because of his age. On Mr. Cochran’s information and belief,

  younger employees were allowed to participate in this program. During one of the

  information meetings for TechFluence program, Mr. Cochran was the oldest person attending

  the meeting.

        21.      Throughout his employment with HP, Mr. Cochran performed his duties in a

  satisfactory and competent manner.



  HP’s Employees Were Older, More Experienced, and Therefore More Expensive than the
  Employees at HP’s Competitors.

        22.      In 2012, the median age of HP’s workforce was 39 years old, the oldest in the

   tech industry. With one-half of its workforce over the age of 39, HP’s labor costs were

   higher than other tech companies. HP employees with 10-19 years of experience are paid an

   average of just over $97,000 annually while employees with 20 or more years of experience

   are paid an average of just over $110,000 annually. By contrast, HP employees with less

   than 1 year of experience are paid an average of just over $64,000 while employees with 1-4

   years of experience are paid an average of just over $65,000.



  HP’s Workforce Reduction Plan Sought to Replace Older, Experienced Employees with
  Younger, Cheaper Ones.


        23.      On or about February 1, 2016, HP continued deploying its Workforce

   Reduction Plan (“Workforce Reduction Plan”), which was a scheme to terminate its older,

   higher paid employees and replace them with younger, lower paid employees. HP’s

   Workforce Reduction Plan involuntarily terminates employees on a rolling basis. Although

   HP’s Workforce Reduction Plan purports to lay off employees on a neutral basis, it actually

   is a companywide practice that disproportionately targets employees who are 40 years of
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   age or older – a protected class – for termination.

        24.       HP has stated that its purpose in instituting the Workforce Reduction Plan was

   to realign its “organization to further stabilize the business and create more financial

   capacity to invest in innovation, but it’s not enough. If [HP is] to position [itself] as the

   industry leader for the future, then [HP] must take additional actions that, while tough, are

   necessary to move [its] business forward. These actions include a reduction in [HP’s] global

   workforce.”

        25.       On October 9, 2013, in anticipation of continuing deployment of its Workforce

   Reduction Plan, HP’s then-CEO Meg Whitman described HP’s staffing objectives at the

   company’s “Hewlett-Packard Securities Analyst Meeting”. Whitman explained that HP

   was aggressively seeking to replace older employees with younger employees. On this

   topic, some of Whitman’s comments include, but are not limited to:



              •   “. . . a question that is actually completely relevant for all large-cap IT
                  companies, which is how do you keep up with this next generation of IT
                  and how do you bring people into this company for whom it isn’t
                  something they have to learn, it is what they know.”

              •   “. . . we need to return to a labor pyramid that really looks like a triangle
                  where you have a lot of early career people who bring a lot of knowledge
                  who you’re training to move up through your organization, and then
                  people fall out either from a performance perspective or whatever.”

              •   “And over the years, our labor pyramid . . . [has] become a bit more of a
                  diamond. And we are working very hard to recalibrate and reshape our
                  labor pyramid so that it looks like the more classical pyramid that you
                  should have in any company and particularly in ES. If you don’t have a
                  whole host of young people who are learning how to do delivery or
                  learning how to do these kinds of things, you will be in real challenges.”

              •   “So, this has a couple of things. One is we get the new style of IT
                  strength and skills. It also helps us from a cost perspective . . . if your
                  labor pyramid isn’t the right shape, you’re carrying a lot of extra cost.
                  The truth is we’re still carrying a fair amount of extra costs across this
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                   company because the overall labor pyramid doesn’t look the way it
                   should.”

               •   “Now, that’s not something that changes like that. Changing the shape
                   of your labor pyramid takes a couple of years, but we are on it, and we’re
                   amping up our early career hiring, our college hiring. And we put in
                   place an informal rule to some extent which is, listen, when you are
                   replacing someone, really think about the new style of IT skills.”

         26.       HP’s CFO Cathie Lesjak (“Lesjak”) explained the scheme as a way to
    proactively shift the makeup of HP’s workforce towards low-level recent graduates:

                           “And the way I think about the restructuring charge . . ., it’s
                   basically catching up. It’s actually dealing with the sins of the past in
                   which we have not been maniacally focused on getting the attrition out
                   and then just agreeing to replace anyway and not thinking through it
                   carefully and thinking through what types of folks we hire as
                   replacements . . . We hire at a higher level than what we really need to
                   do. And the smarter thing to do would be to prime the pipeline, bring in
                   fresh new grads, and kind of promote from within as opposed to hiring a
                   really experienced person that is going to be much more expensive.”



         27.       HP’s Manager of Employee Relations for the Americas, Sheri Bowman,

    explained that it was critical for some HP organizations to reduce expenses, and one way

    they had done so was by changing the composition of their workforce:



                   The focus within the different organizations has evolved a lot over
                   the past four or five years because of the turnaround that we have
                   been trying to achieve within the organization. And so there is a
                   tremendous focus on increasing revenue, increasing client
                   satisfaction to help increase revenue and reducing, you know, overall
                   expenses. So that has just resulted in some organizations modifying
                   their workforce to try to get to the right labor pyramid to achieve
                   their business goals.


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  HP Executed the Workforce Reduction Plan That Targeted Older Employees.

        28.     In October 2019, HP was still persistently eliminating the jobs of older, age-

   protected employees, like Mr. Cochran, and actively replacing them with younger

   employees. Ms. Whitman confirmed as much in her public statements intended to reach the

   ears of HP investors:

                “That should be it. I mean, that will allow us to right size our
                enterprise services business to get the right onshore/offshore mix, to
                make sure that we have a labor pyramid with lots of young people
                coming in right out of college and graduate school and early in their
                careers. That’s an important part of the future of the company . . .
                This will take another couple of years and then we should be done.”
        29.     Consistent with HP’s strategy to eliminate the older members of its workforce in

   favor of younger workers, when selecting which employee to terminate under its Workforce

   Reduction Plan, HP’s goal is to single out those workers who it thinks “will not fit the bill long

   term in [the] team growing to [an advisory] position.”

        30.     Although purportedly neutral on their face, HP’s terminations under its Workforce

   Reduction Plan are actually targeted to eliminate older, age-protected workers in grossly

   disproportionate numbers.

        31.     HP’s Workforce Reduction Plan is implemented on a rolling basis. That is, it does

   not terminate HP’s employees all at once. But, it serves as a mechanism for HP to terminate

   members of a protected class of employees whenever it wants. Plaintiff is informed and

   believes that HP is still engaged in the systematic elimination of its age protected class of

   employees.

        32.     Also, HP implements its Workforce Reduction Plan to carefully avoid triggering a

   Workforce Adjustment and Retraining Notification (“WARN”) event. A WARN Act event is

   triggered when a covered establishment terminates 50 employees in the same geographic region

   at any one time. If a WARN Act event is triggered, the company must provide terminated
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      employees with at least 60 days’ notice of his or her termination, and pay them for 60 days’

      worth of pay. HP actively evades these requirements by not terminating 50 or more employees

      at any one time in the same geographic area.



  HP’s “Fake” Measures that Purportedly Helped Terminated Employees to Retain
  Employment in a Different Capacity were Illusory and Restricted Competition.

           33.     Theoretically, HP employees terminated under the Workforce Reduction Plan

      were encouraged to apply for other jobs at HP through HP’s 60-day “Preferential Rehire

      Period.” A termination is cancelled for any HP employee who is hired during this “Preferential

      Rehire Period.” While the Preferential Rehire Period is supposed to be neutral in its

      application, it is not applied neutrally because it adversely impacts disproportionate numbers of

      age protected employees. In fact, during the Preferential Rehire Period, HP’s older employees

      are almost never rehired. If older employees are even offered a job, the job is rarely, if at all,

      comparable to the one that employee held before he or she was terminated.

           34.     Since August 2013, HP’s Human Resources has incorporated written guidelines

      that require HP to hire mostly younger employees. Specifically, those guidelines state: “New

      corporate requisition policy requires 75% of all External hire requisitions be ‘Graduate’ or

      ‘Early Career’ employees.” Thus, age-protected employees who were terminated under the
      Workforce Reduction Plan and who sought rehiring under the Preferential Rehiring Period,

      were fighting an uphill battle against HP’s inherent prerogative to hire a disproportionate

      percentage of younger “early career” and “recent graduates”. 1

           35.     Thus, available job postings included discriminatory language that made clear that

      HP was looking for a “younger” employee to fill those available jobs. Accordingly, age-



  1      Notably, the Equal Employment Opportunity Commission views the use of “new grad”
  and “recent grad” in job notices to be illegal because it discourages older applicants from
  applying.
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    protected employees were rejected for rehiring under the Preferential Rehire Period provision

    of the Workforce Reduction Plan in disparately greater numbers than their younger peers who

    applied either externally or pursuant to the Preferential Rehire Period provision.

         36.     HP also implemented an early retirement program in which employees of a certain

    age and tenure are eligible to “voluntarily” retire early. If the employee does not choose

    voluntary early retirement, he or she may soon be unemployed. This retirement program

    presents age-protected employees with a Hobson’s choice: either participate in the voluntary

    retirement program or risk being terminated under the Workforce Reduction Plan. The

    aforementioned dilemma works to HP’s advantage.


  HP Has Deliberately Avoided Confronting the Reality that Its Policies Disproportionately
  Impact Age Protected Employees.
         37.     Older employees were well aware of the fact that many of their age-protected

    peers had been selected for termination under the Workforce Reduction Plan. In the

    engineering support group, older employees would advise each other not to disclose their age

    or how long they had worked at HP in order to avoid being selected for termination under the

    Workforce Reduction Program.

         38.     HP has an “Adverse Impact Team” that evaluates various HP employment
    practices to determine whether or not those practices impact a significant number or percentage

    of a particular protected class of employees. Although HP has an “Adverse Impact Team,” for

    unknown reasons, it does not investigate the facts related to whether or not the Workforce

    Reduction Plan adversely affects a class of age protected employees disproportionately.

         39.     According to its “HP 2016 Sustainability Report,” HP provides workforce data

    regarding its diversity in the United States, but tellingly provides no facts about its age-

    protected workforce data.
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         40.     On or about February 2017, HP set forth a “diversity mandate” when it hires

    outside attorneys to defend it from lawsuits. If a law firm does not fit HP’s selective

    “diversity” requirements then it can withhold ten percent (10%) of the firm’s attorneys’ fees.

    Tellingly, “age” is not one of the criteria or factors included in this “diversity mandate.” This

    omission further evidences HP’s devaluation of age-protected class of persons.

         41.     According to a January – February 2017 article published by AARP, HP has

    received more allegations of age discrimination than any other technology company in recent

    years.



  Mr. Cochran was Terminated under the Workforce Reduction Plan, and Was Not Rehired
  During Either the Redeployment Period or the Preferential Rehire Period Because He Was
  Replaced by Somebody Younger and Cheaper.

         42.     On or about October 22, 2019, Mr. Cochran was notified by his manager that

    his employment was being terminated pursuant to the 2016 Workforce Reduction Plan, and

    that his termination date would be November 1, 2019.

         43.     Mr. Cochran was informed that he would have 60-days as part of his

    “redeployment period” to find another job with HP. If he was able to successfully find

    another position during that time, then he would be allowed to continue to work without

    interruption. If he was not able to find another position at HP within the redeployment

    period, then he would be terminated and the 60-day “Preferential Rehire Period” would

    commence. During that time, Mr. Cochran would be allowed to apply for jobs within HP,

    and if he was selected then he would be re-hired without having to undertake the approval

    process normally required for a rehire.

         44.     During the 60-day “Preferential Rehire Period,” Mr. Cochran applied for thirty-

    two (32) jobs for which he was qualified. Mr. Cochran interviewed for four (4) positions,
    and received a second interview for one (1) position. Furthermore, Mr. Cochran discussed
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    six (6) additional positions with HP’s recruiters. Despite, Mr. Cochran’s immense effort to

    find another position with HP, HP refused to rehire Mr. Cochran to discriminate against him

    because of his age. As a result, Mr. Cochran was not rehired by HP.

         45.     At the time that Mr. Cochran was terminated, he was the oldest person in his

    work group. On Mr. Cochran’s information and belief, the second oldest employee in his

    team was also terminated as part of the Workforce Reduction Plan. On Mr. Cochran

    information and belief, younger employees that worked in Mr. Cochran’s team were

    reassigned to other departments within HP.



                                      CLASS ALLEGATIONS

         46.     Plaintiff sue on his own behalf and on behalf of a Class of personas similarly

   situated pursuant to Fed. R. Civ. P. Rule 23.

         47.     Plaintiff is a representative of the following class for the purposes of the Age

   Discrimination in Employment Act of 1967, 29 U.S.C. §§621-634 (“ADEA”):

                                       The Nationwide Class

                     All current, former, or prospective employees who worked for HP in
                     the United States and present who were at least 40 years old at the time
                     HP selected them for termination under HP’s Workforce Reduction
                     Plan. (“Age Discrimination Class”).


         48.     This action has been brought and may properly be maintained as a class action,

   under Fed. R. Civ. P. Rule 23 because a well-defined community of interest in the litigation

   exists and because the proposed class is easily ascertainable, and for the other reasons

   explained in this Class Action Complaint.
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         49.       Numerosity: The persons who comprise Age Discrimination Class are so

   numerous that joinder of all such persons would be unfeasible and impracticable. The

   membership of Class is unknown to Plaintiff at this time.

         50.       Commonality: Common questions of fact or law arising from HP’s conduct

   exist, as described in this Complaint, as to all members of the Class which predominate over

   any questions solely affecting individual members of the proposed class, including but not

   limited to:

               •   Whether HP’s policies or practices relating to the Workforce Reduction Plan were
                   based on discriminatory intent towards employees over 40 who were otherwise
                   qualified for those positions;

               •   Whether HP’s Workforce Reduction Plan had a disproportionate adverse impact
                   on its employees aged 40 or older;

               •   Whether HP’s policy of selecting employees to terminate under its Workforce
                   Reduction Plan had a disproportionate adverse effect on those employees aged 40
                   or older;

               •   Whether HP’s termination selection policy (i.e., the Workforce Reduction Plan)
                   was a substantial factor in causing the Class member terminations (i.e., harm);

               •   Whether HP failed to adequately investigate, respond to, and/or appropriately
                   resolve instances of age discrimination in the workplace;

               •   Whether HP failed to implement policies and practices to prevent discrimination
                   against older employees.

               •   Whether HP’s Workforce Reduction Plan was an unfair, unlawful, deceptive, and
                   or fraudulent business practice;

               •   Whether an alternative or modification to the Workforce Reduction Plan existed
                   that would have had less of an adverse impact on employees aged 40 years and
                   older;


         51.       HP’s defenses, to the extent that any such defense is applied, are applicable

   generally to the Class and are not distinguishable to any degree relevant or necessary to
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   defeat predominance in this case.

         52.     Typicality: Plaintiff’s claims are typical of the claims for the members of the

   Class all of whom have sustained and/or will sustain injuries, including irreparable harm, as a

   legal (proximate) result of HP’s common course of conduct as complained of in this

   operative complaint. Plaintiff’s class claims are typical of the claims of Class because HP

   used its policies and practices (i.e., its Workforce Reduction Plan, and accompanying

   Preferential Rehire Period,) to subject Plaintiff and each member of the Class to identical

   unfair, unlawful, deceptive, and/or fraudulent business practices, acts, and/or omissions.

         53.     Adequacy: Plaintiff, on behalf of all others similarly situated, will fairly and

   adequately protect the interests of all members of the Class in connection with which they

   have retained competent attorneys. Plaintiff is able to fairly and adequately protect the

   interests of all members of the Class because it is in Plaintiff’s best interests to prosecute the

   claims alleged herein to obtain full compensation due to them. Plaintiff does not have a

   conflict with either the Class members, and his interests are not antagonistic to either of the

   Class. Plaintiff has retained counsel who are competent and experienced in representing

   employees in complex class action litigation

         54.     Superiority: Under the facts and circumstances set forth above, class action

   proceedings are superior to any other methods available for both fair and efficient
   adjudication of the controversy. A class action is particularly superior because the rights of

   each member of the Class, inasmuch as joinder of individual members of either Class is not

   practical and, if the same were practical, said members of the Class could not individually

   afford the litigation, such that individual litigation would be inappropriately burdensome, not

   only to said citizens, but also to the courts of the United States.

         55.     Litigation of these claims in one forum is efficient as it involves a single

   decision or set of decisions that affects the rights of thousands of employees. In addition,
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   class certification is superior because it will obviate the need for unduly duplicative litigation

   that might result in inconsistent judgment concerning HP’s practices.

         56.     To process individual cases would increase both the expenses and the delay not

   only to members of the Class, but also to HP and the Court. In contrast, a class action of this

   matter will avoid case management difficulties and provide multiple benefits to the litigating

   parties, including efficiency, economy of scale, unitary adjudication with consistent results

   and equal protection of the rights of each member of the Class, all by way of the

   comprehensive and efficient supervision of the litigation by a single court.

         57.     This case is eminently manageable as a class. Defendants’ computerized

   records, including meticulous payroll and personnel data, provide an accurate and efficient

   means to obtain information on the effect and administration of the Workforce Reduction

   Plan en masse, including class-wide damages, meaning class treatment would significantly

   reduce the discovery costs to all parties.

         58.     In particular, since HP is obfuscating the import of its Workforce Reduction

   Plan, misleading its employees, suppressing their wages and mobility, the Class is neither

   sophisticated nor legally knowledgeable enough be able to obtain effective and economic

   legal redress unless the action is maintained as a class action. Given the unlikelihood that

   many injured class members will discover, let alone endeavor to vindicate, their claims, class
   action is a superior method of resolving those claims.

         59.     There is a community of interest in obtaining appropriate legal and equitable

   relief for the common law and statutory violations and other improprieties, and in obtaining

   adequate compensation for the damages and injuries which HP’s actions have inflicted upon

   Plaintiff and the Class.

         60.     There is also a community of interest in ensuring that the combined assets and

   available insurance of HP are sufficient to adequately compensate the members of the Class
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   for the injuries sustained.

          61.     Notice of the pendency and any result or resolution of the litigation can be

   provided to members of the Class by the usual forms of publication, sending out to members

   a notice at their current addresses, establishing a website where members can choose to opt-

   out, or such other methods of notice as deemed appropriate by the Court.

          62.     Without class certification, the prosecution of separate actions by individual

   members of the Class would create a risk of: (1) inconsistent or varying adjudications with

   respect to individual members of Class that would establish incompatible standards of

   conduct for HP; or (2) adjudications with respect to the individual members of the Class that

   would, as a practical matter, be disparities of the interests of the other members not parties to

   the adjudication, or would substantially impair or impede their ability to protect their interest.

          63.     Plaintiff is a representative of the following class for the purposes of the

    Colorado Fair Employment Practices Act (C.R.S. 24-34-402):

                                          The Colorado Class

                  All current, former, or prospective employees who worked for HP in the
                  State of Colorado and present who were at least 40 years old at the time
                  HP selected them for termination under HP’s Workforce Reduction Plan.
                  (“Age Discrimination Class”).


          64.     This action has been brought and may properly be maintained as a class action,

   under Fed. R. Civ. P. Rule 23 because a well-defined community of interest in the litigation

   exists and because the proposed class is easily ascertainable, and for the other reasons

   explained in this Class Action Complaint.

          65.     Numerosity: The persons who comprise the Colorado Class are so numerous

   that joinder of all such persons would be unfeasible and impracticable. The Colorado Class

   consists of hundreds of former employees who were notified of their termination when they

   were age 40 and older.
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         66.       Commonality: Common questions of fact or law arising from HP’s conduct

   exist, as described in this Complaint, as to all members of the Class which predominate over

   any questions solely affecting individual members of the proposed class, including but not

   limited to:

               •   Whether HP’s policies or practices relating to the Workforce Reduction Plan were
                   based on discriminatory intent towards employees over 40 who were otherwise
                   qualified for those positions;

               •   Whether HP’s Workforce Reduction Plan had a disproportionate adverse impact
                   on its Colorado employees aged 40 or older;

               •   Whether HP’s policy of selecting employees to terminate under its Workforce
                   Reduction Plan had a disproportionate adverse effect on those Colorado
                   employees aged 40 or older;

               •   Whether HP’s termination selection policy (i.e., the Workforce Reduction Plan)
                   was a substantial factor in causing the Class member terminations (i.e., harm);

               •   Whether HP failed to adequately investigate, respond to, and/or appropriately
                   resolve instances of age discrimination in the workplace;

               •   Whether HP failed to implement policies and practices to prevent discrimination
                   against older employees.

               •   Whether HP’s Workforce Reduction Plan was an unfair, unlawful, deceptive, and
                   or fraudulent business practice;

               •   Whether an alternative or modification to the Workforce Reduction Plan existed
                   that would have had less of an adverse impact on employees aged 40 years and
                   older;


         67.       HP’s defenses, to the extent that any such defense is applied, are applicable

   generally to the Class and are not distinguishable to any degree relevant or necessary to

   defeat predominance in this case.

         68.       Typicality: Plaintiff’s claims are typical of the claims for the members of the

   Colorado Class all of whom have sustained and/or will sustain injuries, including irreparable
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   harm, as a legal (proximate) result of HP’s common course of conduct as complained of in

   this operative complaint. Plaintiff’s class claims are typical of the claims of Colorado Class

   because HP used its policies and practices (i.e., its Workforce Reduction Plan, and

   accompanying Preferential Rehire Period,) to subject Plaintiff and each member of the

   Colorado Class to identical unfair, unlawful, deceptive, and/or fraudulent business practices,

   acts, and/or omissions.

         69.     Adequacy: Plaintiff, on behalf of all others similarly situated, will fairly and

   adequately protect the interests of all members of the Colorado Class in connection with

   which they have retained competent attorneys. Plaintiff is able to fairly and adequately

   protect the interests of all members of the Colorado Class because it is in Plaintiff’s best

   interests to prosecute the claims alleged herein to obtain full compensation due to them.

   Plaintiff does not have a conflict with either the Colorado Class members, and his interests

   are not antagonistic to either of the Colorado Class. Plaintiff has retained counsel who are

   competent and experienced in representing employees in complex class action litigation

         70.     Superiority: Under the facts and circumstances set forth above, class action

   proceedings are superior to any other methods available for both fair and efficient

   adjudication of the controversy. A class action is particularly superior because the rights of

   each member of the Colorado Class, inasmuch as joinder of individual members of either
   Class is not practical and, if the same were practical, said members of the Class could not

   individually afford the litigation, such that individual litigation would be inappropriately

   burdensome, not only to said citizens, but also to the courts of the State of Colorado.

         71.     Litigation of these claims in one forum is efficient as it involves a single

   decision or set of decisions that affects the rights of thousands of employees. In addition,

   class certification is superior because it will obviate the need for unduly duplicative litigation

   that might result in inconsistent judgment concerning HP’s practices.
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          72.     To process individual cases would increase both the expenses and the delay not

   only to members of the Colorado Class, but also to HP and the Court. In contrast, a class

   action of this matter will avoid case management difficulties and provide multiple benefits to

   the litigating parties, including efficiency, economy of scale, unitary adjudication with

   consistent results and equal protection of the rights of each member of the Class, all by way

   of the comprehensive and efficient supervision of the litigation by a single court.

          73.     This case is eminently manageable as a class. Defendants’ computerized

   records, including meticulous payroll and personnel data, provide an accurate and efficient

   means to obtain information on the effect and administration of the Workforce Reduction

   Plan en masse, including class-wide damages, meaning class treatment would significantly

   reduce the discovery costs to all parties.

          74.     In particular, since HP is obfuscating the import of its Workforce Reduction

   Plan, misleading its employees, suppressing their wages and mobility, the Class is neither

   sophisticated nor legally knowledgeable enough be able to obtain effective and economic

   legal redress unless the action is maintained as a class action. Given the unlikelihood that

   many injured class members will discover, let alone endeavor to vindicate, their claims, class

   action is a superior method of resolving those claims.

          75.     There is a community of interest in obtaining appropriate legal and equitable
   relief for the common law and statutory violations and other improprieties, and in obtaining

   adequate compensation for the damages and injuries which HP’s actions have inflicted upon

   Plaintiff and the Class.

          76.     There is also a community of interest in ensuring that the combined assets and

   available insurance of HP are sufficient to adequately compensate the members of the Class

   for the injuries sustained.

          77.     Notice of the pendency and any result or resolution of the litigation can be
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   provided to members of the Class by the usual forms of publication, sending out to members

   a notice at their current addresses, establishing a website where members can choose to opt-

   out, or such other methods of notice as deemed appropriate by the Court.

          78.     Without class certification, the prosecution of separate actions by individual

   members of the Class would create a risk of: (1) inconsistent or varying adjudications with

   respect to individual members of Class that would establish incompatible standards of

   conduct for HP; or (2) adjudications with respect to the individual members of the Class that

   would, as a practical matter, be disparities of the interests of the other members not parties to

   the adjudication, or would substantially impair or impede their ability to protect their interest.




           FIRST CLAIM FOR RELIEF - AGE DISCRIMINATION UNDER ADEA

                         (On behalf of Plaintiff and the Nationwide Class)

          79.     Plaintiffs incorporate by reference all Paragraphs of this Complaint as if fully

    set forth herein.

          80.     At all times relevant to this case, Plaintiffs have been at least 40 years of age

    and therefore protected by the ADEA, 29 U.S.C. §§ 621 – 634.

          81.     At all times relevant to this case, Defendants were “employers” within the

    meaning of the ADEA, 29 U.S.C. § 630(b).

          82.     Although Plaintiffs at all relevant times successfully performed their jobs, they

    were terminated because of their age and were replaced by younger employees.

          83.     Based on the above-described acts, practices, and omissions, Defendants

    engaged in unlawful discrimination under the ADEA based on Plaintiffs’ age.

          84.     Furthermore, Defendants’ illegal actions against Plaintiffs were aimed at

    Plaintiffs because of their age, resulting in adverse impacts to the terms and conditions of
    Plaintiffs’ employment.
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          85.     Defendants’ above-described conduct was intentional and was motivated by

    Plaintiffs’ age.

          86.     Defendants knowingly and willfully engaged in the above-described conduct

    and discriminatory termination of Plaintiffs on the basis of their age.

          87.     As a direct and proximate result of Defendants’ above-described actions,

    Plaintiffs have suffered damages, including lost wages and benefits, emotional pain and

    suffering, embarrassment, and inconvenience; and they are entitled to such general and

    special damages, economic damages, punitive damages, liquidated damages, and attorneys’

    fees and costs as permitted by law.



     SECOND CLAIM FOR RELIEF - AGE DISCRIMINATION UNDER COLORADO

                              FAIR EMPLOYMENT PRACTICE ACT

                           (On behalf of Plaintiff and the Colorado Class)

          88.     Plaintiffs incorporate by reference all Paragraphs of this Complaint as if fully

    set forth herein.

          89.     At all times relevant to this case, Plaintiffs have been at least 40 years of age

    and therefore protected by the Colorado Fair Employment Practices Act (C.R.S. 24-34-402).

          90.     Although Plaintiffs at all relevant times successfully performed their jobs, they
    were terminated because of their age and were replaced by younger employees.

          91.     Based on the above-described acts, practices, and omissions, Defendants

    engaged in unlawful discrimination under the Colorado Fair Employment Practices Act

    based on Plaintiffs’ age.

          92.     Furthermore, Defendants’ illegal actions against Plaintiffs were aimed at

    Plaintiffs because of their age, resulting in adverse impacts to the terms and conditions of

    Plaintiffs’ employment.
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          93.     Defendants’ above-described conduct was intentional and was motivated by

    Plaintiffs’ age.

          94.     Defendants knowingly and willfully engaged in the above-described conduct

    and discriminatory termination of Plaintiffs on the basis of their age.

          95.     As a direct and proximate result of Defendants’ above-described actions,

    Plaintiffs have suffered damages, including lost wages and benefits, emotional pain and

    suffering, embarrassment, and inconvenience; and they are entitled to such general and

    special damages, economic damages, punitive damages, liquidated damages, and attorneys’

    fees and costs as permitted by law.



    THIRD CLAIM FOR RELIEF – WRONGFUL TERMIANTION IN VIOLATION OF

                                          PUBLIC POLICY

                          (On behalf of Plaintiff and the Colorado Class)

          96.     Plaintiffs incorporate by reference all Paragraphs of this Complaint as if fully

    set forth herein.

          97.     HP discriminated against Plaintiff and the Colorado Class members by

    terminating their employment of the basis of their age.

          98.     HP’s discrimination constitutes an unlawful employment practice in violation
    of Colorado public policy.

          99.     Furthermore, Defendants’ illegal actions against Plaintiffs were aimed at

    Plaintiffs because of their age, resulting in adverse impacts to the terms and conditions of

    Plaintiffs’ employment.

          100.    Defendants’ above-described conduct was intentional and was motivated by

    Plaintiffs’ age.
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         101.    Defendants knowingly and willfully engaged in the above-described conduct

    and discriminatory termination of Plaintiffs on the basis of their age.

         102.    As a direct and proximate result of Defendants’ above-described actions,

    Plaintiffs have suffered damages, including lost wages and benefits, emotional pain and

    suffering, embarrassment, and inconvenience; and they are entitled to such general and

    special damages, economic damages, punitive damages, liquidated damages, and attorneys’

    fees and costs as permitted by law.



                                      PRAYER FOR RELIEF

         Plaintiff, on behalf of himself individually and on behalf of the Class prays for relief

  and judgment against Defendants and any later named defendant, jointly and severally as

  follows:

         1.      Certification of the case as a class action and appointment of Plaintiff as Class

    Representative for the United States Class and his counsel of record as Class Counsel;

         2.      Certification of the case as a class action and appointment of Plaintiff as Class

    Representative for the Colorado Class and his counsel of record as Class Counsel;

         3.      All damages to which Plaintiff and each member of the United States and

    Colorado Classes are entitled due to Defendants’ conduct, including, but not limited to, back
    pay, front pay, general and special damages for lost compensation and job benefits that they

    would have received but for the discrimination practices of Defendants;

         4.      For restitution, including, without limitation, restitutionary disgorgement;

         5.      For affirmative or prospective relief;

         6.      For exemplary and punitive damages;

         7.      For attorneys’ fees, expenses, and costs of suit;

         8.      For pre-judgment and post-judgement interest;
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         9.      An order enjoining Defendants from continuing the unfair, deceptive,

    fraudulent, and unlawful business practices alleged herein; and

         10.     For all such other and further relief the Court may deem just and proper.




  DATED: May 1, 2020                                      HOGUE & BELONG

                                                      ___s/ Jeffrey L. Hogue __________
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                                                      (619) 238-4720




                                  DEMAND FOR JURY TRIAL

         Plaintiffs hereby demands a jury trial.



  DATED: May 1, 2020                                  HOGUE & BELONG

                                                      _s/ Jeffrey L. Hogue __________
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